   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                 ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-8196
                                        * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     06/05/2023
           Date Complaint Received:         06/05/2023
           Subject of Complaint:        12 - Other

           Brief Summary:               complains he was denied recreation on 6/1

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: June 05, 2023                                   Page 1 of 1                         Institution Complaint Examiner's Office
                                                     ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                            WISCONSIN
   Department of Adult Institutions                                                                               Administrative Code
   DOC-401 (Rev. 04/18)                                                                                             Chapter DOC 310

                                                  ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-8196
                                        * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Complaint Acknowledged: 06/05/2023                                           Inmate Contacted? No

          Date Complaint Received:       06/05/2023
          Subject of Complaint:          12 - Other

          Document(s) Relied Upon:       DOC 310
                                         Inmate Handbook

          Brief Summary:                 complains he was denied recreation on 6/1

          Summary of Facts:              TM Inmate Anderson is complaining that he was denied recreation on 6/1
                                         with no due process. He also states he is not on any loss of recreation
                                         sanctions and this is violating his due process rights.

                                         WCI has been operating under modified movement since 3/30/23. Inmate is
                                         advised the administrative rules have already been suspended. Along with that,
                                         movement has changed, shower schedules, corresponding linen exchanges
                                         and other modifications to institution operations have been made.

                                         Due to the number of inmates not following rules designed for an orderly and
                                         safer operation it has become necessary to enforce security precautions, which
                                         have been approved by the Warden, and instituted in response to the number
                                         of inmate's engaging in intolerable behavior. Restrictions are not punishment.
                                         The actions are clearly documented. The discretionary actions are being taken
                                         in order to ensure the safety of staff and inmates and to move forward back to
                                         normalcy.

                                         Inmates are required to stand for count at 6:00am, 12:00 pm (noon), 5:00 p.m.
                                         and 9:00 p.m. Inmates must be dressed (shirt and pants required) and stand in
                                         clear view near the front of their cell with their cell light on during count. They
                                         are also not to cover or hang anything from the cell windows, cell bars, end of
                                         the bed, side of the bed, light fixture, or the vents. Staff are logging, while doing
                                         count, and at other times, that the inmates are following these rules. These
                                         rules exist for the inmates so staff can observe they are safe. Inmates are
                                         being given two chances to follow the cell hall rules and on the third refusal to
                                         comply with the rules, on the next scheduled recreation day, the inmate is not
                                         allowed to attend that recreation period.

                                         Inmate Anderson on 5/28 did not stand for count at 5pm, 9pm counts, 5/29 did
                                         not stand for 6am, 9pm counts. Due to the non-compliance he was denied to
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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-401 (Rev. 04/18)                                                                                          Chapter DOC 310

                                                  ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-8196
                                        * * * ICRS CONFIDENTIAL * * *

                                         not stand for 6am, 9pm counts. Due to the non-compliance he was denied to
                                         attend recreation on 6/1. Inmate Anderson is aware of the cell hall rules. The
                                         security precautions are something necessitated in order to maintain orderly
                                         operation of the institution and to provide a safer environment for staff and
                                         other inmates.

                                         Dismissal is recommended as the institution is on lockdown and administrative
                                         rules are currently suspended and the ICE will not intercede upon discretionary
                                         actions taken in order to ensure the safety of staff and inmates.
          ICE Recommendation:            Dismissed

          Recommendation Date:          06/09/2023




                                        T. Moon - Institution Complaint Examiner




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                                                     ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-8196
                                         * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Complaint Acknowledged: 06/05/2023
          Date Complaint Received:         06/05/2023
          Subject of Complaint:            12 - Other
          Brief Summary:                   complains he was denied recreation on 6/1
          ICE's Recommendation:            Dismissed
          Reviewer's Decision:             Dismissed

          Decision Date:                   06/15/2023




                                          R. Hepp - Warden

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




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   DEPARTMENT OF CORRECTIONS                                                                                              WISCONSIN
   Department of Adult Institutions                                                                                 Administrative Code
   DOC-405A (Rev. 04/18)                                                                                              Chapter DOC 310


                                                 CCE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-8196
                                        * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:         06/22/2023

           Date Appeal Received:            06/22/2023
          Subject of Complaint:             12 - Other

           Brief Summary:                   complains he was denied recreation on 6/1

           Your request for review has been received.

           The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
           Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
           OOS may extend the time for making a decision for cause and upon notice to all interested parties.

           If you do not receive a decision or other notices within that time, you may write directly to:
                                      Secretary of the Department of Corrections
                                      Post Office Box 7925
                                      Madison, WI 53707-7925




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   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-404 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                 CCE REPORT
                                      COMPLAINT NUMBER WCI-2023-8196
                                        * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:     06/22/2023
          Date Appeal Received:         06/22/2023
          Subject of Complaint:         12 - Other
          Brief Summary:                complains he was denied recreation on 6/1
          Method of Disposition:           Review on Record? Yes                                  Investigation? No

          Person(s) Contacted:          DAI Assistant Administrator

          Document(s) Relied Upon:      Complaint, Appeal, 4.18.2023 Memo

          CCE's Recommendation:         Dismissed
                                        The institution addressed the complaint. As noted by the facility, operations are
                                        modified due to PIOC behavior, that includes continued suspension of the
                                        administrative rules. On April 18, 2023, the Warden provided a memorandum
                                        to all PIOC at WCI clearly communicating the expectations of the population.
                                        These expectations included:
                                        standing count, clear cell fronts, No items passed between cells, refraining from
                                        throwing garbage out of the trap, and reduced volume in the hall.


                                        Despite the Warden's communication to the population, there continues to be
                                        non compliance with the basic rules and expectations of behavior in the facility.

                                        The complainant is encouraged and expected to follow the rules of the facility.

          Recommendation Date:          07/21/2023




                                        E. Davidson - Corrections Complaint Examiner




Print Date: August 09, 2023                                 Page 1 of 1                        Corrections Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                 WISCONSIN
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                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER WCI-2023-8196
                                         * * * ICRS CONFIDENTIAL * * *


        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351




        Complaint Information:
          Date Appeal Acknowledged:      06/22/2023
          Date Appeal Received:          06/22/2023
          Subject of Complaint:          12 - Other
          Brief Summary:                 complains he was denied recreation on 6/1

          Person(s) Contacted:           DAI Assistant Administrator, OOS

          OOS Decision:                  Dismissed

          Decision Comments:             The following is the Secretary's decision on the Corrections Complaint
                                         Examiner's recommendation of 07/21/2023 in the above appeal: The attached
                                         Corrections Complaint Examiner's recommendation to DISMISS this appeal is
                                         accepted as the decision of the Secretary. Administrative Rules have been
                                         suspended at WCI and the OOS supports the current operations.
          Decision Date:                 08/09/2023




                                        C. O'Donnell - Office of the Secretary




Print Date: August 09, 2023                                  Page 1 of 1                                Office of the Secretary
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                                                                                                   GENERAL REPORT
                                                                                                      WCI-2023-8196
                                             State of Wisconsin
                                               Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:    June 05, 2023
              Date Complaint Received:     June 05, 2023
              Subject of Complaint:      12 - Other

              Brief Summary:             complains he was denied recreation on 6/1

        ICE Recommendation Information:     (Signed on 6/9/23 11:48:48AM):
              Document(s) Relied Upon:   DOC 310
                                         Inmate Handbook
              ICE's Summary of Facts:    TM Inmate Anderson is complaining that he was denied recreation on 6/1
                                         with no due process. He also states he is not on any loss of recreation
                                         sanctions and this is violating his due process rights.

                                         WCI has been operating under modified movement since 3/30/23. Inmate is
                                         advised the administrative rules have already been suspended. Along with
                                         that, movement has changed, shower schedules, corresponding linen
                                         exchanges and other modifications to institution operations have been made.

                                         Due to the number of inmates not following rules designed for an orderly and
                                         safer operation it has become necessary to enforce security precautions,
                                         which have been approved by the Warden, and instituted in response to the
                                         number of inmate's engaging in intolerable behavior. Restrictions are not
                                         punishment. The actions are clearly documented. The discretionary actions
                                         are being taken in order to ensure the safety of staff and inmates and to
                                         move forward back to normalcy.

                                         Inmates are required to stand for count at 6:00am, 12:00 pm (noon), 5:00 p.
                                         m. and 9:00 p.m. Inmates must be dressed (shirt and pants required) and
                                         stand in clear view near the front of their cell with their cell light on during
                                         count. They are also not to cover or hang anything from the cell windows, cell
                                         bars, end of the bed, side of the bed, light fixture, or the vents. Staff are
                                         logging, while doing count, and at other times, that the inmates are following
                                         these rules. These rules exist for the inmates so staff can observe they are
                                         safe. Inmates are being given two chances to follow the cell hall rules and
                                         on the third refusal to comply with the rules, on the next scheduled recreation
                                         day, the inmate is not allowed to attend that recreation period.

                                         Inmate Anderson on 5/28 did not stand for count at 5pm, 9pm counts, 5/29
                                         did not stand for 6am, 9pm counts. Due to the non-compliance he was
                                         denied to attend recreation on 6/1. Inmate Anderson is aware of the cell hall
                                         rules. The security precautions are something necessitated in order to
                                         maintain orderly operation of the institution and to provide a safer
                                         environment for staff and other inmates.

                                         Dismissal is recommended as the institution is on lockdown and
                                         administrative rules are currently suspended and the ICE will not intercede
                                         upon discretionary actions taken in order to ensure the safety of staff and
                                         inmates.

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                                                                                                      GENERAL REPORT
                                                                                                         WCI-2023-8196
                                                 State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

              ICE's Recommendation:          Dismissed
              ICE's Recommendation Date: June 09, 2023

        RA's Decision Information:    (Signed on 6/15/23 5:10:00PM):
              RA's Decision:                 Dismissed
              RA's Decision Date:            June 15, 2023

        Appeal to CCE Information:
              Date Appeal Acknowledged:      June 22, 2023
              Date Appeal Received:          June 22, 2023

        CCE's Recommendation Information:         (Signed on 7/21/23 3:12:43PM):
              Person(s) Contacted:           DAI Assistant Administrator
              Document(s) Relied Upon:       Complaint, Appeal, 4.18.2023 Memo
              CCE's Summary:                 The institution addressed the complaint. As noted by the facility, operations
                                             are modified due to PIOC behavior, that includes continued suspension of
                                             the administrative rules. On April 18, 2023, the Warden provided a
                                             memorandum to all PIOC at WCI clearly communicating the expectations of
                                             the population. These expectations included:
                                             standing count, clear cell fronts, No items passed between cells, refraining
                                             from throwing garbage out of the trap, and reduced volume in the hall.


                                             Despite the Warden's communication to the population, there continues to be
                                             non compliance with the basic rules and expectations of behavior in the
                                             facility.

                                             The complainant is encouraged and expected to follow the rules of the
                                             facility.

              CCE's Recommendation:          Dismissed
              CCE's Recommendation Date: July 21, 2023

        OOS' Decision Information:       (Signed on 8/9/23 9:20:45AM):
              Person(s) Contacted:           DAI Assistant Administrator, OOS
              OOS' Summary:                  The following is the Secretary's decision on the Corrections Complaint
                                             Examiner's recommendation of 07/21/2023 in the above appeal: The
                                             attached Corrections Complaint Examiner's recommendation to DISMISS
                                             this appeal is accepted as the decision of the Secretary. Administrative Rules
                                             have been suspended at WCI and the OOS supports the current operations.

              OOS' Decision:                 Dismissed
              OOS' Decision Date:            August 09, 2023


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                                                                                                                                               Department of Corrections

                                                                                                                                         DISTRIBUTION ITEMS
                                                                                                                                 for COMPLAINT NUMBER WCI-2023-8196
                                                                                 Item                           Create Date            Created By           Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    06/05/2023 10:50:15AM   Tonia Moon                WCI                    91384    06/05/2023 1:54:21PM   Tonia Moon
                                                                          ICE Report                     06/15/2023 5:10:00PM    Randall Hepp              WCI                    91384    06/19/2023 1:31:38PM   Tonia Moon
                                                                          RA Report                      06/15/2023 5:10:00PM    Randall Hepp              WCI                    91384    06/19/2023 1:31:39PM   Tonia Moon
                                                                          CCE Receipt                    06/22/2023 1:22:02PM    Matthew Greenwood         WCI                    91384    06/22/2023 2:11:20PM   Tonia Moon
                                                                          CCE Report                     08/09/2023 9:20:45AM    Cindy O'Donnell           WCI                    91384    08/09/2023 2:12:42PM   Brian Kolb
                                                                          OOS Report                     08/09/2023 9:20:45AM    Cindy O'Donnell           WCI                    91384    08/09/2023 2:12:42PM   Brian Kolb




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